         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 1 of 29




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-00162 (BAH)
        v.                                     :
                                               :
GLENN WES LEE CROY,                            :
                                               :
                Defendant.                     :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this sentencing memorandum in

connection with the above-captioned matter. For the reasons set forth herein, the government

requests that this Court sentence Glenn Croy to two months of incarceration and $500 in restitution.

   I.        Introduction

        The defendant, Glenn Wes Lee Croy, participated in the January 6, 2021 attack on the

United States Capitol—a violent attack that forced an interruption of the certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020

Presidential election, injured more than one hundred law enforcement officers, and resulted in

more than a million dollars’ worth of property damage.

        The defendant pled guilty to one count of 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating, or Picketing in a Capitol Building. As explained herein, a custodial sentence is

appropriate in this case because he (1) entered the Capitol after witnessing law enforcement

attempt to keep rioters at bay for over an hour, (2) supported violent, aggressive, and antagonistic

actions against law enforcement through his presence in a mob overwhelming law enforcement

officers and forcing them to retreat further into the Capitol, (3) disregarded the severity of his

actions while he trapsed through the Capitol as if it was an amusement park, (4) wrongfully

                                                   1
           Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 2 of 29




entered the U.S. Capitol a second time, and (5) later bragged about and defended his actions to

friends.

         The government recognizes that Mr. Croy accepted responsibility early. Nonetheless, that

does not excuse his contribution to the riot and its destruction. The defendant twice entered and

walked through the Capitol in a mob. While inside, the defendant treated the Capitol like a

vacation: he walked freely around the Capitol, took what he apparently perceived to be fun

photos and videos of other rioters dressing statues, and posed for his own photograph by a statue

that he later sent to his friends. These actions belie the significance of his crime. As described

below, the defendant joined a mob entering the Capitol without permission and collectively

overwhelming law enforcement. Following his participation in the riot, through conversations

with friends, he bragged about breaching the Capitol and defended his actions and the actions of

co-rioters. The defendant stands before this Court to be sentenced on a misdemeanor conviction;

but his conduct on January 6, like the conduct of scores of other defendants, took place in the

context of a large and violent riot that relied on numbers to overwhelm law enforcement, breach

the Capitol, and disrupt the proceedings. But for his actions alongside so many others, the riot

likely would have failed.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF No. 30, at 1-7. As this Court knows, a riot cannot occur without rioters, and

each rioter’s actions – from the most mundane to the most violent – contributed, directly and

indirectly, to the violence and destruction of that day. With that backdrop we turn to the

defendant’s conduct and behavior on January 6.



                                                  2
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 3 of 29




                 Glenn Croy’s Role in the January 6, 2021 Attack on the Capitol

       As early as December 27, 2021, the defendant expressed his intention to attend the

political rally in Washington DC on January 6, 2021. When Congresswoman Lauren Boebert

asked over Twitter, “Who is going to be in DC on January 6th to stand with President Trump?”

the defendant responded, “Fellow Coloradan we will be there”.

       On January 4, 2021, the defendant made plans with his co-defendant, Terry Lindsey, to

join him at the rally in Washington D.C. The defendant was driving from his home in Colorado

Springs, CO when he sent a private Facebook message to Lindsey that he was “Almost in

Illinois” and “Heading to DC to rally against the commies bro.” Lindsey asked the defendant

“Got room for 1 more,” and they made plans for the defendant to pick up Lindsey at his home in

Pique, OH to go to Washington D.C.

       On January 6, 2021, the defendant, Lindsey, and a female companion all went to the

political rally at the Ellipse on the National Mall. Indeed, the three of them spent the entire day

together, going from the rally to the steps of the Capitol and twice into the Capitol. When the

defendant first arrived at the Capitol from the rally, he stood at the steps of the Capitol for

approximately an hour before entering. While in front of the Capitol, he witnessed the violence

of rioters overwhelming law enforcement to enter the Capitol Building, while law enforcement

did their best to hold them at bay. He witnessed officers shooting pepper balls and throwing

smoke and gas grenades at rioters climbing up rails of the steps to the Capitol and into the crowd.

One video from his cell phone shows he was upfront against a group of officers at one point, as

he filmed officers working their way through the crowd while rioters confronted, harassed,

taunted, and jeered at them.




                                                  3
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 4 of 29




       The defendant ultimately entered the U.S. Capitol through the Senate Wing Door at

approximately 2:20pm. 1 The U.S. Capitol was first breached in this location when the window

immediately adjacent to the door was smashed out by a riot shield, and a rioter jumped through

the window over broken glass.




       As further depicted in Exhibit 1, the defendant entered through the Senate Wing Door

approximately five minutes after this breach. Once inside, the defendant went toward the right to

the Crypt. In heading that direction, the defendant would have walked over the shattered glass

from the window broken for the rioters to gain entry into the Capitol.




1
  After the defendant’s guilty plea, the government uncovered video showing the defendant
entering the Capitol in a place other than initially known. Further investigation revealed the
defendant entered the U.S. Capitol twice, first through the Senate Wing Door and then through
the Rotunda Door. Defense counsel and the defendant agreed to the updated facts, reflected in
the Defendant’s Pretrial Service Report, which more accurately and comprehensively reflects the
defendant’s actions at the U.S. Capitol on January 6, 2021.

                                                4
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 5 of 29




       The defendant joined a large crowd inside the Crypt that continued to swell with rioters.

A line of law enforcement officers attempted to keep the crowd contained and from further

entering the building. As rioters packed into the room, the defendant recorded a video of the

scene on his phone, which is shown in Exhibit 2.




                                                5
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 6 of 29




       At about 2:25pm, roughly five minutes after the defendant entered the Crypt, the

presence of such a large number of rioters eventually overwhelmed law enforcement, pushing the

officers back as rioters walked through the Crypt and throughout the rest of the Capitol. Exhibit

3 portrays the scene in the Crypt from when the defendant entered the room until the rowdy

crowd swelled to the point of breaking the officer’s line holding them back. 2




2
 The following screenshot shows the defendant in the Crypt at approximately 20 seconds into
Ex. 3.

                                                 6
            Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 7 of 29




        After helping the crowd push back law enforcement from the Crypt, the defendant

walked passed the House Wing Door. In that hallway, he again he joined a crowd that forced

another line of law enforcement to retreat further into the Capitol, as shown in Exhibit 4.




        Roughly two minutes later, as also shown in Exhibit 4, law enforcement appeared to

regain control of this section of the Capitol and escorted rioters back down the hallway. When

this occurred, the defendant followed the crowd without further confronting law enforcement

officers.

        After leaving the hallway by the House Wing Door, the defendant joined a crowd of

rioters in the Memorial Hallway. While there, the defendant took photos and videos of other

rioters. In one instance, as shown in Exhibit 6, 3 he took a photo of a fellow rioter in front the bust

of Vá clav Havel, on top of which someone had placed a red “Make America Great Again” hat.




3
 The defendant first appears in the lower right corner of the screen at approximately 2:35
minutes into Exhibit 6.

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         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 8 of 29




In another instance, also shown in Exhibit 6, the defendant took a video of his companion

decorating a statute of Winston Churchill with sunglasses and a hat.




                                                8
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 9 of 29




       At another point while in the Capitol Building, the defendant had a photo of himself and

Terry Lindsey taken in front of the Lincoln the Legislator statue.




       After walking through the Memorial Hallway, the defendant exited the Capitol Building

through the Memorial Doors at roughly 2:37pm. Once outside, the defendant stayed on the

grounds of the Capitol close to the Capitol Building for approximately 40 to 45 minutes.

       Rather than leaving the Capitol grounds at that time, the defendant apparently decided

that he had not yet had enough; and he entered the building a second time through the Rotunda

Doors at approximately 3:20 pm. As portrayed in Exhibit 7, the defendant even used his cell

phone to record his walk through the crowd to get to the Rotunda Door entryway.




                                                 9
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 10 of 29




       The scene at the Rotunda Door was as chaotic if not more chaotic than when the

defendant first entered the Capitol building. A large group of rioters had already filled the room

as the defendant made his way to the entrance at the Rotunda Door. As Exhibit 8 depicts, the

defendant then plowed into the Rotunda in a crowd of other rioters collectively pushing past law

enforcement at the door.




                                                10
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 11 of 29




       Once inside again, the defendant went to the Rotunda of the Capitol Building. While in

the Rotunda, as shown in Exhibit 9, he was eventually rounded up with other rioters by law

enforcement. From there, he was escorted out of the Capitol Building again through the

Memorial Doors at approximately 3:30pm.

                                              11
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 12 of 29




       The defendant began bragging about his entry into the U.S. Capitol before he left the

building. On January 6 at around 3:17pm, the defendant sent a private Facebook message to a

friend, claiming “We stormed the Capitol.” When the friend responded, “Did Congressmen

Bail,” the defendant wrote “Absolutely I got videos but to big [sic] shifty.” Notably, the videos

on the defendant’s phone do not show Congressmen fleeing. However, videos on the defendant’s

phone from January 6, show scenes from the Ellipse during the political rally, the riotous scene

outside the Capitol, and a few videos of the defendant both inside the Capitol and walking up to

the Rotunda as previously discussed.

       On January 7 and 8, 2021 the defendant continued to communicate with others about his

time in the U.S. Capitol. On both days, he sent private messages to friends with the photo of

himself and Terry Lindsey in front of the Lincoln the Legislator statute. On January 8, the

defendant defended his actions in different comments over Facebook. In one comment, he

claimed “because it wasn't a coup it was frustration and a protest.” In another, he wrote:

           Civil unrest was already here and has been exasperated by watching this go on got the
           last 9 months Noone burned anything in there Noone was there to loot Noone was
           armed with molotovs and explosive fireworks that was a legit mostly peaceful protest
           unlike the burning buildings we see during the summer and are told is mostly
           peaceful

The defendant’s comments over Facebook are limited and largely directed in private messages.

However, one witness advised within a week from January 6, that the defendant had deleted

photos and videos from his Facebook account as well as the account itself. This witness provided

the government with copies of videos that the defendant had sent him through Facebook

messenger. Additionally, after texting Terry Lindsey to check in on him, on January 23, 2021,

the defendant sent Lindsey a text message advising that he “Got banned from Facebook haven’t

even posted on there for over 2 weeks.”



                                                12
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 13 of 29




       The defendant also used his cell phone to discuss his entry in the U.S. Capitol with other

friends. For instance, on January 6, 2021, the defendant sent messages to one friend, stating

“Inside the capitol,” “Hell yeah bro haven’t had good mosh in awhile,” and “we stormed that

shit.” On January 7, 2021 and continuing over the next several days, he sent multiple friends a

video link (https://theresistance.video/watch?id=5ff6857e00bac0328da8e888) of the Capitol

Riot, at times pointing himself out a the 13 minute mark. A review of that video shows the

defendant entering the U.S. Capitol through the Senate Wing Door, chanting “Whose House, Our

House!” Over the next several days, the defendant continued chatting with friends about his

participation in the Capitol Riot. On January 9, 2021, he told a friend “I don’t regret it needed to

be done it felt good to let them see what their antifa thugs have been making Americans across

the country feel good the let them know we are fed up.”

                                The Charges and Plea Agreement

       On February 16, 2021, Glenn Croy was charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and (2), and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On February 17, 2021, he was

arrested at the Colorado Springs Police Department, Gold Hill Substation in Colorado Springs,

Colorado. On February 26, 2021, the defendant was charged by Information with the same crimes.

On August 9, 2021, he pleaded guilty to Count Four of the Information, charging him with a

violation of 40 U.S.C. § 5104(e)(2)(G). In his plea agreement, the defendant “acknowledge[d] that

the riot that occurred on January 6, 2021, caused, as of May 17, 2021, approximately

$1,495,326.55 damage to the United States Capitol” and “agree[d] as part of the plea in this matter

to pay restitution to the Department of Treasury in the amount of $500.” Plea Agreement, ECF

No. 29, ¶ 11. Additionally, the defendant agreed to voluntarily interview with law enforcement.

Mr. Croy has both paid restitution and interviewed with law enforcement.



                                                 13
          Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 14 of 29




   III.      Statutory Penalties

          The defendant now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. As this offense is a Class B Misdemeanor, the

Sentencing Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct.

§ 3553(a)(6). In this case, all of the Section 3553(a) factors weigh in favor of incarceration.

          A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events. So, too, does the conviction this

defendant now faces. Picketing, demonstrating, or parading at the Capitol as part of the riot on

January 6 is not like picketing at the Capitol some other day, without other rioters present.

          While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each individual person who entered the Capitol on January 6

did so under the most extreme of circumstances. As a person entered the Capitol, they would—at



                                                 14
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 15 of 29




a minimum—have crossed through numerous barriers and barricades and heard the throes of a

mob. Depending on the timing and location of their approach, they also may have observed

extensive fighting with law enforcement and likely would have smelled chemical irritants in the

air. Make no mistake, no rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, how the defendant entered the

Capitol building; (2) whether the defendant engaged in any violence or incited violence;

(3) whether the defendant engaged in any acts of destruction; (4) the defendant’s reaction to acts

of violence or destruction; (5) whether during or after the riot, the defendant destroyed evidence;

(6) the length of the defendant’s time inside of the building, and exactly where the defendant

traveled; (7) the defendant’s statements in person or on social media; (8) whether the defendant

cooperated with, or ignored, law enforcement; and (9) whether the defendant otherwise exhibited

evidence of remorse or contrition. While these factors are not exhaustive nor dispositive, they help

to place each individual defendant on a spectrum as to their fair and just punishment.

       Before entering the building, the defendant stood at the steps of the U.S. Capitol for over

an hour. While standing there, he witnessed officers shooting pepper balls and throwing smoke

and gas grenades at rioters climbing up rails of the steps to the Capitol and into the crowd. He even

practically brushed against a group of officers as his fellow rioters confronted and harassed them.

It strains credulity that, while witnessing law enforcement repelling rioters and rioters harassing

officers, he still thought he could remain on the restricted grounds outside the Capitol. Nonetheless,

at his guilty plea hearing, he excused his presence on those grounds through the presence of others:

“I just knew that everybody was there. Everybody walked from the Washington Monument up to



                                                 15
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 16 of 29




the Capitol, and we were walking with a huge crowd.” Tr. 8/9/2021 at 22. The defendant’s rationale

underscores the dangerousness of his actions: in following the crowd, the defendant aided violent

rioters through his mere presence by adding numbers to the rioters overwhelming law

enforcement’s efforts to the keep the Capitol safe. See United States v. Matthew Mazzocco, 1:21-

cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the numbers. The people who

were committing those violent acts did so because they had the safety of numbers.”) (statement of

Judge Chutkan).

       More concerning, the defendant knew from law enforcement’s actions that he did not have

permission to enter the Capitol. He did so anyway – twice. The defendant first entered the U.S.

Capitol through the Senate Wing Door in a stream of rioters pouring into the building. Moreover,

he walked through the doors roughly five minutes after the adjoining window was first smashed

with a riot shield and doors then kicked open to allow in rioters. As he entered, the defendant

chanted “Whose House, Our House!” He would have then walked over the shattered glass of the

window as he went to the Crypt. Once in the Crypt, he filmed the scene as he and other rioters

packed the room and eventually pushed back law enforcement officers to go further into the

Capitol. He continued to walk with the mob through the hallway by the House Wing door, again

pushing back law enforcement through overpowering them with the size of their crowd.

       While inside, the defendant treated the U.S. Capitol like an amusement park, taking photos

and videos of himself and fellow rioters dressing up statutes and later widely sharing them while

bragging about his actions. Through treating his breach of the U.S. Capitol in this way, the

defendant displayed his lack of concern about how he participated in the riot and, through his

presence, aided other more violent rioters. He showed no concern for the fact that the mob’s




                                               16
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 17 of 29




collective actions ultimately, though temporarily, stopped Congress from fulfilling its obligation

to certify the Presidential election.

        As if his first trip through the Capitol was not enough, after watching the action on the

outside for another 40 minutes, the defendant entered the building a second time in a manner as

chaotic as his first entry. When he entered through the Rotunda door, he plowed into the building

in a crowd of other rioters that collectively pushed past several law enforcement officers, engulfing

one of them in their midst. In addition to this forceful entry into the Capitol, the defendant would

have heard an alarm sounding throughout the Capitol rotunda and its antechamber: a loud, high-

pitched, continuous beeping, similar to a smoke alarm. Every indication of how he entered the

U.S. Capitol – both the first and second time – underscores that he did not have permission to be

there and could not have thought he had permission to be there.

        Moreover, Mr. Croy’s initial defiance of his actions shows he did not just blindly follow

other rioters; rather, he intentionally joined the mob wrongfully enter the Capitol building,

disrupting congress and causing destruction in its wake. His justifications were immediate,

chanting “Whose House, Our House!” when entering the Capitol as if he and his fellow rioters

were claiming the Capitol as their own. While still at the Capitol, he candidly bragged about his

actions, explicitly stating “We stormed the capitol” and joking at the notion of congressmen

fleeing. He emphasized his actions to another friend, claiming he “stormed that shit,” having

referred to the Capitol riot as a “good mosh.” He later outright expressed “I don’t regret it needed

to be done[.]” More than blindly join rioters, the defendant was adamant and persistent in his

actions when he entered the U.S. Capitol that day.

        For these reasons, the nature and circumstances of the offense supports a sentence of

incarceration.



                                                 17
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 18 of 29




       B. The History and Characteristics of the Defendant

       As set forth in the PSR, the defendant has previously been arrested for several offenses that

range in their severity. In 1999, the defendant was convicted of a misdemeanor assault. In 2000,

he was convicted of a misdemeanor traffic violation. In 2005, Glenn Croy was convicted of a

felony violation of Marijuana Cultivation. The defendant has also been convicted of traffic

infractions. In addition to these convictions, the defendant’s criminal history also shows he was

arrested on September 16, 1995 in Butte, Montana for an assault, resulting in a 6-month suspended

sentence, though no further information is available. As well, shortly afterwards, the defendant

was arrested on November 12, 1995 for Disorderly Conduct and Engaging the Welfare of a Child

– 1st Violation, for which he was sentenced to a 10-day suspended sentence and $120 fine, as part

of what appears to be a group of people assaulting a single individual. If the Sentencing Guidelines

did apply to his offense of conviction, he likely would have 0 criminal history points because of

the staleness of his prior convictions. USSG § 4A1.2(e)(3). Accordingly, he would be in Criminal

History Category I. USSG § 5A.

       The defendant’s PSR notes that the defendant will be employed at the time of sentencing.

While Mr. Croy shares custody of his two children, ages 15 and 14, with his ex-wife, he is the

primary care provider for the children, and they reside primarily with him.

       The government also notes that, shortly after receiving a plea agreement from the

government, Mr. Croy, through his attorney, expressed a desire to plead guilty, acknowledge his

conduct, and promptly resolve his case. Moreover, while working through more recent details of

how he entered the U.S. Capitol, he has remained committed to pleading guilty and taking

responsibility for the entirety of his actions. Additionally, the defendant has been compliant with

his conditions of release throughout the pendency of this case. As previously noted, when



                                                18
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 19 of 29




recommending an appropriate sentence, the government gives significant weight to the defendant’s

early resolution of this case.

        C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense and
           Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 4 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration, as it will in most cases arising out of the riot on

January 6, 2021, including in misdemeanor cases. See United States v. Joshua Bustle and Jessica

Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I don't think anyone should start off

in these cases with any presumption of probation. I think the presumption should be that these

offenses were an attack on our democracy and that jail time is usually -- should be expected”)

(statement of Judge Hogan).

        D. The Need for the Sentence to Afford Adequate Deterrence

        Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010). The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January


4
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”),
available at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf

                                                 19
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 20 of 29




6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the transfer of power. As noted by Judge Moss during sentencing, in United States v.

Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. 7/19/2021 at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than

it was seven months ago for the United States and our diplomats to convince other nations to

pursue democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demand deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

       The need for specific deterrence in this case is also apparent in light of the defendant’s

casual disregard for the consequences of his actions and later efforts to defend the riot as peaceful.

The defendant witnessed violence and contributed to it through his presence. Yet, after the riot, he

seemed proud of his actions, sharing photos and videos of his illegal entry into the Capitol.

Likewise, he defended his actions as merely “frustration and a protest” and minimized his

“storming the Capitol” by referencing “Civil unrest was already here.” Boasting about his criminal




                                                 20
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 21 of 29




acts and justifying them when challenged shows an unwillingness to recognize the threat he posed.

Such an unwillingness merits specific deterrence in itself.

       E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, to assault

on law enforcement officers, to conspiracy to corruptly interfere with Congress. Each offender

must be sentenced based on their individual circumstances, but with the backdrop of January 6 in

mind. Moreover, each offender’s case will exist on a spectrum that ranges from conduct meriting

a probationary sentence to crimes necessitating years of imprisonment. The misdemeanor

defendants will generally fall on the lesser end of that spectrum, but misdemeanor breaches of the

Capitol on January 6, 2021 were not minor crimes. A probationary sentence should not necessarily

become the default. Indeed, the government invites the Court to join Judge Lamberth’s admonition

that “I don’t want to create the impression that probation is the automatic outcome here because

it’s not going to be.” 5 United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021

at 19; see also United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge

Lamberth said something to the effect . . . ‘I don't want to create the impression that probation is




5
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its prior agreement to recommend probation in these cases. Cf. United States v.
Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities
under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program
and those who do not given the “benefits gained by the government when defendants plead
guilty early in criminal proceedings”) (citation omitted).

                                                21
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 22 of 29




the automatic outcome here, because it's not going to be.’ And I agree with that. Judge Hogan said

something similar.”) (statement of Judge Friedman).

        While the number of sentenced defendants is low, we have already begun to see meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. While those who trespassed, but engaged in less serious aggravating

factors, deserve a sentence more in line with minor incarceration or home confinement. After a

review of the applicable Section 3553(a) factors, the government believes that the defendant’s

conduct falls in line with incarceration. The defendant was well aware of the violence surrounding

the Capitol, and he entered the Capitol building twice anyway. He contributed to the violence

around him by adding his presence to riotous crowds overwhelming law enforcement. He showed

no concern for the severity of his actions as he engaged in criminal conduct as if he was on a

vacation. Finally, he bragged about and defended his actions to several friends, failing to see the

seriousness of his actions.

   V.      Restitution

        As noted above, the defendant agreed under the terms of the plea agreement to pay $500

in restitution. The Court asked the government to address restitution in anticipation of the

defendant’s sentencing, specifically requesting the government explain how it reached the

restitution amount reflected in the plea agreement. We submit this explanation to aid the Court.

        Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose



                                                22
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 23 of 29




restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). Two general restitution statutes provide such authority. First, the Victim and Witness

Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579, 96 Stat. 1248 (now codified at 18

U.S.C. § 3663), “provides federal courts with discretionary authority to order restitution to victims

of most federal crimes.” Papagno, 639 F.3d at 1096. Second, the Mandatory Victims Restitution

Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at 18 U.S.C. § 3663A),

“requires restitution in certain federal cases involving a subset of the crimes covered” in the

VWPA. Papagno, 639 F.3d at 1096. The applicable procedures for restitution orders issued and

enforced under these two statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing

that sentencing court “shall” impose restitution under the MVRA, “may” impose restitution under

the VWPA, and “shall” use the procedures set out in Section 3664). 6

       The VWPA and MVRA share certain features. Both require that restitution “be tied to the

loss caused by the offense of conviction.” Hughey v. United States, 495 U.S. 411, 418 (1990)

(interpreting the VWPA); see United States v. Clark, 747 F.3d 890, 897 (D.C. Cir. 2014)

(restitution under the MVRA limited to the “offense of conviction” under Hughey). Both require

identification of a victim, defined in both statutes as “a person directly and proximately harmed as

a result of” the offense of conviction. 7 See 18 U.S.C. § 3663(a)(2); 18 U.S.C. § 3663A(a)(2). Both

statutes identify similar covered costs, including lost property and certain expenses of recovering


6
 Several other criminal statutes authorize restitution for specific offenses. See, e.g., 18 U.S.C. §
43(c) (damaging or interfering with an enterprise involving animals); 18 U.S.C. § 228(d) (child
support violations; 18 U.S.C. § 1593 (peonage, slavery, and trafficking in persons); 18 U.S.C. §
2248 (sex crimes); 18 U.S.C. § 2259 (sexual exploitation of children); 18 U.S.C. § 2264 (domestic
violence); 18 U.S.C. § 2327 (telemarketing fraud); 18 U.S.C. § 853(q) (amphetamine and
methamphetamine offenses). None of those statutes are at issue in this case.
7
 The government or a governmental entity can be a “victim” for purposes of the VWPA and
MVRA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9 (D.D.C. 2012) (citations omitted).

                                                 23
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 24 of 29




from bodily injury. See Papagno, 639 F.3d at 1096-97; § 3663(b); § 3663A(b). Finally, under both

the statutes, the government bears the burden by a preponderance of the evidence to establish the

amount of loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir.

2019). The relevant inquiry is the scope of the defendant’s conduct and the harm suffered by the

victim as a result. See Emor, 850 F. Supp. 2d at 202. The use of a “reasonable estimate” or

reasonable approximation is sufficient, “especially in cases in which an exact dollar amount is

inherently incalculable.” 8 United States v. Gushlak, 728 F.3d 184, 196 (2d Cir. 2013); see United

States v. Sheffield, 939 F.3d 1274, 1277 (11th Cir. 2019) (estimating the restitution figure is

permissible because “it is sometimes impossible to determine an exact restitution amount”)

(citation omitted); United States v. James, 564 F.3d 1237, 1246 (10th Cir. 2009) (restitution order

must identify a specific dollar amount but determining that amount is “by nature an inexact

science” such that “absolute precision is not required”) (citation omitted); United States v. Burdi,

414 F.3d 216, 221 (1st Cir. 2005) (same); see also Paroline v. United States, 572 U.S. 434, 459

(2014) (observing in the context of the restitution provision in 18 U.S.C. § 2259 that the court’s

job to “assess as best it can from available evidence the significance of the individual defendant’s

conduct in light of the broader casual process that produced the victim’s losses . . . cannot be a

precise mathematical inquiry”).

       The statutes also differ in significant respects. As noted above, the VWPA is a discretionary

restitution statute that permits, but does not require, the sentencing court to impose restitution in

any case where a defendant is convicted under Title 18 or certain other offenses in Title 21 or Title

49. 18 U.S.C. § 3663(a). In deciding whether to impose restitution under the VWPA, the



8
  The sentencing court should “articulate the specific factual findings underlying its restitution
order in order to enable appellate review.” Fair, 699 F.3d at 513.

                                                 24
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 25 of 29




sentencing court must take account of the victim’s losses, the defendant’s financial resources, and

“such other factors as the court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14,

23-24 (D.D.C. 2019) (quoting 18 U.S.C. § 3663(a)(1)(B)(i)). By contrast, as noted above, the

MVRA applies only to certain offenses, such as a “crime of violence,” § 3663A(c)(1)(A), or “Title

18 property offenses ‘in which an identifiable victim . . . has suffered a physical injury or pecuniary

loss,’” Fair, 699 F.3d at 512 (citation omitted), but it requires imposition of full restitution without

respect to a defendant’s ability to pay. 9

        While both statutes generally limit restitution to losses resulting from conduct that is the

basis of the offense of conviction, they also authorize the court to impose restitution under the

terms of a plea agreement. See 18 U.S.C. § 3663(a)(3); 18 U.S.C. § 3663A(a)(3); see United States

v. Zerba, 983 F.3d 983, 986 (8th Cir. 2020); United States v. Giudice, 2020 WL 220089, *5 (D.N.J.

Jan. 15, 2020). As relevant to this case, the sentencing court under the VWPA “may also order

restitution in any criminal case to the extent agreed to by the parties in a plea agreement.” 18

U.S.C. § 3663(a)(3). Under Section 3663(a)(3), a defendant may agree to pay restitution even

where the offense of conviction falls outside of the statutes otherwise covered by the VWPA. See

United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008) (upholding restitution

agreement under Section 3663(a)(3) where defendant was convicted under 26 U.S.C. § 7201). A

defendant’s agreement to pay restitution under Section 3663(a)(3) is a binding promise, United

States v. Pappas, 409 F.3d 828, 830 (7th Cir. 2005), and the sentencing court is not required to

independently evaluate the defendant’s ability to pay when restitution is made part of the plea

agreement under that provision, United States v. Allen, 201 F.3d 163, 167-68 (2d Cir. 2000).


9
  Both statutes permit the sentencing court to decline to impose restitution where doing so will
“complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. § 3663(a)(1)(B)(ii); 18
U.S.C. § 3663A(c)(3)(B).

                                                  25
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 26 of 29




       Application of these restitution principles to the defendant’s case is straightforward. The

defendant entered a guilty plea to one count of Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G). That offense of conviction does not trigger

the MVRA because it does not fall within the “subset” of crimes covered under that statute. See

18 U.S.C. § 3663A(c)(1)(A); Papagno, 639 F.3d at 1096. Mr. Croy’s non-Title 18 offense of

conviction also does not fall within the statutes covered by the VWPA. See 18 U.S.C. §

3663(a)(1)(A). Restitution here nonetheless properly falls within the scope of Section 3663(a)(3)

because the plea agreement requires the defendant to pay $500 in restitution. See Anderson, 545

F.3d at 1078-79. The Court thus is authorized to impose restitution “to the extent agreed to by the

parties” in the plea agreement. 18 U.S.C. § 3663(a)(3).

       The VWPA also provides that restitution ordered under Section 3663 “shall be issued and

enforced in accordance with section 3664.” 18 U.S.C. § 3663(d). Because this case essentially

involves the related criminal conduct of hundreds of defendants, the Court has discretion to: (1)

hold the defendants jointly and severally liable for the full amount of restitution owed to the

victim(s), see 18 U.S.C. § 3664(f)(1)(A) (requiring that, for restitution imposed under § 3663, “the

court shall order restitution to each victim in the full amount of each victim’s losses as determined

by the court and without consideration of the economic circumstances of the defendant”); or (2)

apportion restitution and hold the defendant and other defendants responsible only for each

defendant’s individual contribution to the victim’s total losses. 18 U.S.C. § 3664(h).

       The government and Mr. Croy, pursuant to the plea agreement, have requested the Court

to apportion liability for restitution for damages arising from the riot at the United States Capitol.

For this case, the parties have agreed that the Court may impose restitution in the amount of $500.

This amount fairly reflects the defendant’s role in the offense and the damages resulting from his



                                                 26
         Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 27 of 29




conduct. This amount properly reflects the defendant’s role, but also considers the various legal

and factual issues associated with calculating the actual losses for property damage to the United

States Capitol and incurred by law enforcement agencies, additional costs incurred for security

personnel, and bodily injuries sustained by law enforcement personnel. In consideration of these

factors, the restitution amount reflected in the plea agreement fairly represents an apportionment

of the defendant’s liability and, therefore, is proper in this case.

        Regarding costs that are subject to restitution, the defendant’s plea agreement states that as

of May 17, 2021, the riot at the United States Capitol had caused “approximately $1,495,326.55”

in damages. See Plea Agreement, ECF No. 29, ¶ 11. As noted above, determining the restitution

amount is an “inexact science,” James, 564 F.3d at 1246, that must be based on a “reasonable

approximation of losses supported by a sound methodology,” Gushlack, 728 F.3d at 196. The

nearly $1.5 million figure quoted in the defendant’s plea agreement represented loss estimates

provided by Architect of the Capitol as of mid-May 2021. The government continues to investigate

losses that resulted from the breach of the Capitol on January 6, 2021, a process that involves

several facets. As a factual matter, the government is continuing to collect evidence concerning,

inter alia, (1) the cost of damage to the Capitol Building and Grounds, both inside (e.g., doors,

windows, offices, office equipment, hallways, the Rotunda, the Crypt, etc.) and outside (e.g.,

doors, windows, barricades, scaffolding, etc.); (2) the costs associated with the deployment of

additional law enforcement units to the Capitol on January 6th; (3) the cost of broken or damaged

law-enforcement equipment; (4) the cost of stolen property; and (5) costs associated with bodily

injuries sustained by law-enforcement officers and other victims. As a legal matter, some of these

costs (such as property damage and medical injuries) clearly fall within the scope of the restitution

statutes as applied to some defendants (e.g., defendants who broke a window or committed



                                                  27
        Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 28 of 29




aggravated assault against an law enforcement officer). But other costs, including employees’

work time, see United States v. Wilfong, 551 F.3d 1182, 1184 (10th Cir. 2008), and the proper

method for assessing value of damaged or destroyed property, see United States v. Shugart, 176

F.3d 1373, 1375 (11th Cir. 1999), raise more challenging questions that should be resolved as they

arise. To the extent a victim’s losses in a particular case are “not ascertainable” at the time of

sentencing, Section 3664 permits an extension of up to 90 days for a “final determination” of those

losses. 18 U.S.C. § 3664(d)(5); see Dolan v. United States, 560 U.S. 605, 611 (2010) (allowing a

sentencing court to order restitution after the 90-day deadline under some circumstances). None of

these questions, however, arise in the defendant’s case.




                                                28
          Case 1:21-cr-00162-BAH Document 46 Filed 10/22/21 Page 29 of 29




   VI.      Conclusion

         Sentencing here requires that the Court carefully balance the various factors set forth in 18

U.S.C. § 3553(a). As detailed above, some of those factors support a sentence of incarceration and

some support a more lenient sentence. Balancing these factors, the government recommends that

this Court sentence Glenn Wes Lee Croy to two months of incarceration and $500 in restitution.

Such a sentence protects the community, promotes respect for the law, and deters future crime by

imposing restrictions on his liberty as a consequence of his behavior, while recognizing his early

acceptance of responsibility.

                                               Respectfully submitted,

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                                                  29
